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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 7
)
Art Van Furniture, LLC et al ) Case No. 20-10553 (CTG)
)
Debtors. )
)
RDER OF RE ENT OF JUDGE

AND NOW, this 1 day of April 2022, it is hereby ORDERED that the above Chapter
7 case (and all associated cases including adversary) is TRANSFERRED to the Honorable

Criag T. Goldblatt for all further proceedings and dispositions.'

HAeui Serve A ypeapler.

Laurie Selber Sifverstein
Chief Judge

 

' When filing papers, please include the initials of the Judge assigned to the case.

 
